           Case 1:20-cv-10250-VSB Document 11 Filed 02/23/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X                                  2/23/2021
                                                          :
DILENIA PAGUADA,                                          :
                                                          :
                                         Plaintiff,       :
                                                          :              20-CV-10250 (VSB)
                           -against-                      :
                                                          :                    ORDER
GRIPPO POTATO CHIP COMPANY, INC., :
                                                          :
                                         Defendant. :
                                                          :
--------------------------------------------------------- X

VERNON S. BRODERICK, United States District Judge:

        It has been reported to the Court that the parties in this case have reached a settlement

agreement. Accordingly, it is hereby:

        ORDERED that the above-captioned action is discontinued without costs to any party

and without prejudice to restoring the action to this Court’s docket if the application to restore

the action is made within thirty (30) days.

SO ORDERED.

Dated: February 23, 2021
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
